    Case: 1:24-cv-00759 Document #: 10 Filed: 04/24/24 Page 1 of 4 PageID #:571




                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 YONGJIAN WANG,

              Plaintiff,

                     v.
                                                   Case No. 24-cv-759
 THE PARTNERSHIPS AND                              Judge Martha M. Pacold
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE A,

              Defendants.



                                       ORDER

       For the reasons described below, plaintiff’s motion for leave to amend the
complaint, [9] is granted to the extent that it seeks leave to file an amended
complaint that does not assert claims under U.S. Patent No. D994376 (the “D’376
Patent”). However, the dismissal of plaintiff’s claims under the D’376 Patent only
partially resolves the issues of improper joinder in this case. Although plaintiff’s
claims asserted under plaintiff’s other patent, U.S. Patent No. D994362 (the “D’362
Patent”), are all asserted under the same patent, a review of plaintiff’s submissions
reveals that plaintiff’s claims under the D’362 Patent do not all involve “the same
accused product.” See 35 U.S.C. § 299(a)(1). The court therefore finds that joinder
is improper with respect to those claims as well. If plaintiff believes plaintiff can
correct the deficiencies identified in this order, plaintiff may file by May 10, 2024 an
amended complaint that asserts only claims that involve “the same accused
product,” without the types of differences identified within this order. If plaintiff
does not file an amended complaint, this suit will be dismissed without prejudice. If
plaintiff elects to file an amended complaint, plaintiff should simultaneously file a
status report indicating whether plaintiff would prefer to have its claims severed or
dismissed without prejudice in the event the court determines that plaintiff’s
amended complaint still fails to establish that joinder is proper. All other deadlines
in this case are stayed. Plaintiff’s pending motions for a temporary restraining
order [7] and for leave to file under seal, [5], [6], are stricken without prejudice to
refiling.
    Case: 1:24-cv-00759 Document #: 10 Filed: 04/24/24 Page 2 of 4 PageID #:572




                                    STATEMENT

       In patent cases, 35 U.S.C. § 299 limits joinder to claims based on “the same
accused product” and specifically provides that “accused infringers may not be
joined in one action as defendants . . . based solely on allegations that they each
have infringed the patent or patents in suit.” 35 U.S.C. § 299(a)–(b). That section
provides in full:

      (a) Joinder of Accused Infringers.—With respect to any civil action
      arising under any Act of Congress relating to patents, other than an
      action or trial in which an act of infringement under section 271(e)(2)
      has been pled, parties that are accused infringers may be joined in one
      action as defendants or counterclaim defendants, or have their actions
      consolidated for trial, only if—

             (1) any right to relief is asserted against the parties jointly,
             severally, or in the alternative with respect to or arising out of the
             same transaction, occurrence, or series of transactions or
             occurrences relating to the making, using, importing into the
             United States, offering for sale, or selling of the same accused
             product or process; and

             (2) questions of fact common to all defendants or counterclaim
             defendants will arise in the action.

      (b) Allegations Insufficient for Joinder.—For purposes of this subsection,
      accused infringers may not be joined in one action as defendants or
      counterclaim defendants, or have their actions consolidated for trial,
      based solely on allegations that they each have infringed the patent or
      patents in suit.

      (c) Waiver.—A party that is an accused infringer may waive the
      limitations set forth in this section with respect to that party.

35 U.S.C. § 299 (emphases added).

       Plaintiff filed this action against 116 defendant online storefronts, alleging
that the defendants’ dining chairs or barstools infringe two of plaintiff’s design
patents. [1]. After reviewing plaintiff’s filings, the court ordered plaintiff to show
cause why this case should not be dismissed for failure to comply with the joinder
restrictions in 35 U.S.C. § 299. [8]. In response, plaintiff filed a motion seeking
leave to amend the complaint to dismiss plaintiff’s claims under the D’376 Patent so
that plaintiff could proceed only on plaintiff’s claims under the D’362 Patent. [9].

                                           2
    Case: 1:24-cv-00759 Document #: 10 Filed: 04/24/24 Page 3 of 4 PageID #:573




      Plaintiff’s motion, [9], recognizes that the dining chairs covered by plaintiff’s
claims under the D’376 Patent are not “the same accused product” as the various
barstools that are the subjects of plaintiff’s claims under the D’362 Patent.
Dismissal of plaintiff’s claims under the D’376 Patent would therefore remove
improperly joined claims from this suit, and plaintiff’s motion, [9], is therefore
granted.

       The dismissal of plaintiff’s claims under the D’376 Patent is only a partial
solution to the improper joinder in this case, however, as the court is also not
persuaded that plaintiff’s claims under the D’362 Patent all involve “the same
accused product.” The court’s review of plaintiff’s filings and exhibits reveals that,
although many of the defendants’ barstools share some common features, there are
numerous substantial differences between them. Perhaps most significantly,
although many of the defendants’ barstools exhibit some similarity in the design of
the seat and backrest, the bases of many of the barstools vary widely. Some of the
barstools have legs; others are supported by a single, central column with a wide
base. Even considering only the barstools with legs or only the barstools with a
central column, the bases of the barstools within each subcategory still vary with
respect to their width, height, materials, and shapes. Even narrowing the court’s
examination to just those barstools with a central column that appear to have a
swiveling capability, some differences remain—such as the presence, placement, or
shape of either a footrest or what looks to be a handle for adjusting the height of the
barstool. Moreover, in addition to these more obvious differences in the bases of the
barstools, even the seats and backrests of some barstools appear to contain some
variances in the amount of cushioning present, the size of the backrest and seat,
and possibly the materials used in the construction of the barstools.

       It may well be the case, as plaintiff contends in plaintiff’s motion, that “[a]t
least Defendant Nos. 3, 5, 6, 12, 14, 15, 18, 22, 24, 25, 26, 28, 24, 35, 47, 50, 51, 52,
58, 61, 65, 66, 70, 71, 73, 78, 79, 81, 82, 83, 86, 88, 90, 93, 99, 103, and 105 all sell a
swivel bar chair whose back cushioning exactly embodies the ‘D362 Patent.” [9] at
2. And it may well be true that each listed defendant’s product infringes plaintiff’s
D’362 Patent. But even assuming that these statements are true, they do not
establish that defendants’ products are “the same accused product” within the
meaning of § 299(a)(1). Indeed, as § 299(b) explicitly cautions, “accused infringers
may not be joined in one action as defendants or counterclaim defendants, or have
their actions consolidated for trial, based solely on allegations that they each have
infringed the patent or patents in suit.” 35 U.S.C. § 299(b). Because that appears
to be precisely what plaintiff has done in this case, the court finds that the
defendants are not properly joined in this suit.



                                             3
    Case: 1:24-cv-00759 Document #: 10 Filed: 04/24/24 Page 4 of 4 PageID #:574




        Generally, the appropriate remedies for misjoinder are dismissal without
prejudice or severance. Fed. R. Civ. P. 21; UWM Student Ass’n v. Lovell, 888 F.3d
854, 864 (7th Cir. 2018). Severance would result in separate actions, and plaintiff
would be required to pay the filing fee for each action. See Taylor v. Brown, 787
F.3d 851, 858 n.8 (7th Cir. 2015) (“The clerk . . . shall require the parties instituting
any civil action, . . . whether by original process, removal or otherwise, to pay a
filing fee . . . .” (emphasis in original) (quoting 28 U.S.C. § 1914(a))); Lee v. Cook
Cty., Ill., 635 F.3d 969, 971 (7th Cir. 2011) (“When a federal civil action is severed, it
is not dismissed. Instead, the clerk of court creates multiple docket numbers for the
action already on file, and the severed claims proceed as if suits had been filed
separately.”); Tatum v. Henderson, No. 19-C-1591, 2020 WL 3051536, at *1 (E.D.
Wis. June 8, 2020).

        Here, plaintiff has at least partially recognized the impropriety of the joinder
in this suit and has sought leave to amend the complaint. See [9]. For this reason,
the court declines to either dismiss or sever the claims in this suit at this time. If
plaintiff believes that plaintiff can identify a subset of plaintiff’s claims that truly
involve “the same accused product” and that do not contain the sorts of differences
identified above, plaintiff may file an amended complaint by May 10, 2024. If
plaintiff does not file an amended complaint, this suit will be dismissed without
prejudice. If plaintiff elects to file an amended complaint, plaintiff should
simultaneously file a status report indicating whether plaintiff would prefer to have
its claims severed or dismissed without prejudice in the event the court determines
that plaintiff’s amended complaint still fails to establish that joinder is proper. All
other deadlines in this case are stayed. Plaintiff’s pending motions for a temporary
restraining order [7] and for leave to file under seal, [5], [6], are stricken without
prejudice to refiling.



Date: April 24, 2024                         /s/ Martha M. Pacold




                                            4
